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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Criminal No. 21-cr-24 (TNM)
                                              :
ROBERT GIESWEIN,                              :
                                              :
                       Defendant.             :


                    UNOPPOSED MOTION TO CONTINUE SENTENCING

       The United States hereby respectfully moves the Court to continue the sentencing hearing

in this matter, presently scheduled for June 9, 2023, to June 16, 22, or 23, 2023, or to another date

convenient to the Court and the parties.

       In support of this motion, the government states the following:

       1.      On March 6, 2023, the defendant entered a plea of guilty, and the Court set

sentencing for June 9, 2023. See Minute Entry dated March 6, 2023.

       2.      At the time of the plea, undersigned counsel erroneously believed he was available

on that date. Upon further reflection, counsel realized he is currently scheduled to be out of the

jurisdiction for a family wedding that day.

       3.      Accordingly, the government moves for a brief continuance of sentencing in this

matter to allow counsel to travel for the wedding.

       4.      The government submit that there is no prejudice to any party in a brief

rescheduling of this matter. The government is asking for only a short continuance, and this motion

is being filed more than 60 days ahead of the presently scheduled sentencing date.
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       5.      Undersigned counsel has consulted with Blake Weiner, Esq., counsel for Mr.

Gieswein, and Mr. Weiner informed undersigned counsel that he does not oppose the relief

requested by the government in this motion.

       6.      All counsel are available on June 16, 22, and 23, 2023, if any of those dates are

convenient for the Court.



       WHEREFORE, the government requests that the Court grant the government’s motion

and enter the attached, proposed order.

                                              Respectfully Submitted,


                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar Number 481052


                                 By:          /s/ Erik M. Kenerson
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